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IN THE UNITED STATES DISTRICT COURT FILED
FOR THE DISTRICT OF COLUMBIA. aye epi
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Clerk, U.S. District and
Bankruptcy Courts

UNITED STATES OF AMERICA

Case No: 1:21-CR-00435 BAH

Vv.
SAMUEL CHRISTOPHER FOX, : 40U.S.C.§5104(2)(G)

Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Samuel Christopher Fox, with the concurrence of his attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the
parties stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1, The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police, Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.
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3. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

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however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $1.4 million doliars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

FOX's Participation in the January 6, 2021 Capitol Riot

8. On December 24, 2020, Fox posted on Facebook that, “[t]he worst part of 2020

was seeing so many people be ok with actual voter fraud and IDC I hope Trump starts civil war.”

On January 1, 2021, Fox posted his plans to go to D.C. and that, “the next time I see fireworks

80 off in DC (sic) I want them attached to traitior (sic) politicians. Unrelated, but see yinz (sic)
on the 6th.”

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9. Fox traveled from Pennsylvania to Washington, D.C. on January 6, 2021. On
January 7, 2021, Fox posted to Facebook photos of himself inside and outside of the U.S. Capitol

Building.
10. Fox entered the U.S. Capitol Building through a broken Senate Wing window and

excited through a Senate Wing door. Fox remained in the U.S. Capitol from approximately 3:12

p.m. to 3:14 p.m.
11. On January 7, 2021, Fox posted on Facebook,

Al (sic) the lefties pissing and moaning right now can take comfort in the fact
we walked into a building that was ours instead of using politics to loot stores.
We actually have reasons to be there, not virtue signalling (sic) twitter points.
Your country is sold to the CCP, and if you have no idea what I'm talking about
then you're the biggest prob, not patriots who wanted to knock and talk to
Congress. I'd do it again, fight me.

12. The defendant knew at the time that he entered the U.S. Capitol Building that that
he did not have permission to enter the building and the defendant paraded, demonstrated, or

picketed.

Respectfully submitted,

CHANNING D. PHILLIPS
Acting United States Attorney
D.C. Bar No. 415793

By:  /s/ Anthony L. Franks
Anthony L. Franks

Assistant United States Attorney

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DEFENDANT’S ACKNOWLEDGMENT

I, Samuel Christopher Fox, have read this Statement of the Offense and have discussed it
with my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. | do this voluntarily and of
my own free will. No threats have been made to me nor am I under the influence of anything that

could impede my ability to understand this Statement of the Offense fully.
~“

Mt LA LEX

Samuel Christopher Fox
Defendant

 

 

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. 1
concur in my client's desire to adopt this Statement of the Offense as truc and accurate.

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